      Dated: 5/1/2018




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                                                           This Order has been electronically
                                                           signed. The Judge's signature and
                                                           Court's seal appear at the top of the
                                                           first page.
                                                           United States Bankruptcy Court.

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